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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER ON DAUBERT
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     MOTION RE JIM TIMMINS
                                                                         13   OTTOMOTTO LLC; and OTTO                                      AND MOTION IN LIMINE RE
                                                                              TRUCKING LLC,                                                DUE DILIGENCE
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          After two continuances of the trial date and in advance of the third final pretrial
                                                                         17   conference in this action for trade secret misappropriation, this order DENIES defendants’
                                                                         18   Daubert motion to exclude plaintiff’s corporate transactions expert and also DENIES plaintiff’s
                                                                         19   motion in limine to exclude evidence of a third-party due diligence investigation and report.
                                                                         20          1.      UBER’S DAUBERT MOTION RE JIM TIMMINS.
                                                                         21          Defendants Uber Technologies, Inc., and Ottomotto LLC (collectively, “Uber”) move to
                                                                         22   exclude plaintiff Waymo LLC’s corporate transactions expert Jim Timmins from opining that
                                                                         23   Anthony Levandowski controls and indirectly owns Tyto through a trust, on the basis that
                                                                         24   Timmins is not an attorney with experience in the law of trusts (Dkt. No. 1612). Timmins is the
                                                                         25   managing director of a business valuation and financial advisory firm and has worked for over
                                                                         26   35 years in investment banking, venture capital investing, and valuation services. He has
                                                                         27   specialized experience in corporate transactions and is “familiar with documents for corporate,
                                                                         28   pass-through, and trust entities and transactions involving them” (see Dkt. No. 1774-11 ¶¶
                                                                          1   1–13). His opinion is essentially a succinct summary of the paper trail between Levandowski
                                                                          2   and Tyto and will assist the jury in understanding this complicated issue. He will therefore be
                                                                          3   permitted to explain this issue from a corporate perspective, without prejudice to targeted
                                                                          4   objections at trial if he veers off into improper legal opinions beyond the scope of his expertise.
                                                                          5   Furthermore, on direct examination, Waymo is ORDERED to have Timmins come to grips with
                                                                          6   Uber’s accusations that his opinion is simply incorrect and contradicts the actual documentary
                                                                          7   evidence (see Dkt. No. 1887-4 at 1–4). Except as stated herein, Uber’s motion is DENIED.
                                                                          8          2.      WAYMO’S MIL NO. 18 RE DUE DILIGENCE.
                                                                          9          Waymo moves to preclude Uber from introducing evidence or arguing that Uber relied
                                                                         10   on the Stroz Friedberg due diligence investigation and report to prevent trade secret
                                                                         11   misappropriation (Dkt. No. 2194). First, Waymo contends Uber has no evidence of such
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                                                                         12   reliance because it asserted privilege over communications concerning the due diligence
                                                                         13   investigation and report. In its response, however, Uber clearly identifies non-privileged
                                                                         14   evidence — including the due diligence report itself — that could potentially support either
                                                                         15   side’s narrative (see Dkt. No. 2245 at 2–4). Second, Waymo contends that, in light of its
                                                                         16   assertions of privilege, Uber is precluded from relying on an advice-of-counsel defense, but
                                                                         17   Uber expressly disclaims reliance on any such defense in its response (see id. at 4–5). Waymo
                                                                         18   remains free to raise targeted sword-and-shield objections at trial if Uber attempts to selectively
                                                                         19   use privileged evidence in its defense. The sweeping preclusion sought by Waymo’s motion,
                                                                         20   however, is unwarranted. The due diligence investigation and report are crucial evidence at the
                                                                         21   heart of this case. Both sides will be able to make their arguments to the jury based on that
                                                                         22   evidence. Waymo’s motion is therefore DENIED.
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                                                                         24          IT IS SO ORDERED.
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                                                                         26   Dated: January 18, 2018.
                                                                                                                                        WILLIAM ALSUP
                                                                         27                                                             UNITED STATES DISTRICT JUDGE
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